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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

    Civil Action No.: 15-349

    PHILLIS WINDY HOPE REILLY and MICHAEL P. REILLY,

                  Plaintiffs

    v.

   6480 PICKNEY, LLC, PARKER WALTON, and CAMP FEEL GOOD, LLC,

                  Defendants.



                                        FINAL PRETRIAL
                                            ORDER


                                            1.
                                  DATE AND APPEARANCES
          The combined Final Pretrial Conference and Trial Preparation Conference

   occurred on October 4, 2018 at 1:30p.m. (MDT). The following counsel appeared on

   behalf of Plaintiffs Phillis Windy Hope Reilly and Michael P. Reilly (“Plaintiffs”):

   David H. Thompson
   Cooper & Kirk, PLLC
   1523 New Hampshire Ave., N.W.
   Washington, D.C. 20036
   (202) 220-9659

   Brian W. Barnes
   Cooper & Kirk, PLLC
   1523 New Hampshire Ave., N.W.
   Washington, D.C. 20036
   (202) 220-9623



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          The following counsel appeared on behalf of Defendants 6480 Pickney, LLC,

   Parker Walton, and Camp Feel Good, LLC (“Defendants”):

   Matthew Buck
   Red Law LLC
   445 Broadway Suite 126
   Denver, CO 80203
   (720) 507-1884

                                             2.
                                        JURISDICTION

          Plaintiffs seek damages and injunctive relief under the Racketeer Influenced and

   Corrupt Organizations Act (“RICO”). Accordingly, the Court has subject matter

   jurisdiction because this case presents a federal question. 28 U.S.C. § 1331. The Court

   also has subject matter jurisdiction under 18 U.S.C. § 1964(a), which confers

   “jurisdiction to prevent and restrain violations of [18 U.S.C. § 1962] by issuing

   appropriate orders.”

                                           3.
                                  CLAIMS AND DEFENSES

           With respect to Count I, the Court entered partial summary judgment that all

    three remaining Defendants violated 18 U.S.C. § 1962(c). Accordingly, the only issues

    to be decided by the jury for purposes of Count I are: (1) whether Plaintiffs’ property

    has been injured; (2) whether Defendants’ conduct is the cause of any such injury;

    and (3) the amount of Plaintiffs’ damages. Safe Streets Alliance v. Hickenlooper, 859

    F.3d 865, 881 (10th Cir. 2017). Plaintiffs bear the burden of proof, and they may

    satisfy their burden by proving any of the following by a preponderance of the

    evidence: (1) interference with their use and enjoyment of their property by recurring

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    emissions of noxious odors from Defendants’ marijuana cultivation facility; (2)

    diminution in value of their property as a result of these same noxious odors; or (3)

    diminution in value of their property due to operation of Defendants’ recreational

    marijuana grow in proximity to their property. Id. at 886–88; see also Order Granting

    Partial Summary Judgment at 11 n.14 (Aug. 1, 2018) [#230].

           The Court also entered summary judgment with respect to Count V, ruling that

    Mr. Walton violated 18 U.S.C. § 1962(c). Count V is identical to Count I for purposes

    of the issues the Court did not resolve in its summary judgment ruling except that Mr.

    Walton is the only defendant. Accordingly, the issues to be decided by the jury for

    purposes of Count V are: (1) whether Plaintiffs’ property has been injured; (2) whether

    Mr. Walton’s conduct is the cause of any such injury; and (3) the amount of Plaintiffs’

    damages. Safe Streets Alliance v. Hickenlooper, 859 F.3d 865, 881 (10th Cir. 2017).

    Plaintiffs bear the burden of proof, and they may satisfy their burden by proving any of

    the following by a preponderance of the evidence: (1) interference with their use and

    enjoyment of their property by recurring emissions of noxious odors from Mr. Walton’s

    marijuana cultivation facility; (2) diminution in value of their property as a result of

    these same noxious odors; or (3) diminution in value of their property due to operation

    of Mr. Walton’s recreational marijuana grow in proximity to their property. Id. at 886–

    88; see also Order Granting Partial Summary Judgment at 11 n.14 (Aug. 1, 2018)

    [#230].

           Plaintiffs do not intend to further pursue any of the other counts in the

    complaint.

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                                               4.
                                          STIPULATIONS

           1.     Defendants own the marijuana cultivation facility at 6480 Pickney, Rye,

   Colorado.

           2.     Plaintiffs own three contiguous parcels of land—Lots 1, 2, and 6—in the

   Meadows at Legacy Ranch, Pueblo County, Colorado, located adjacent to Defendants’

   commercial marijuana cultivation facility.

           3.     The eastern wall of Defendants’ marijuana cultivation facility is 40 feet

   from Plaintiffs’ property line.

           4.     The center of Defendants’ marijuana cultivation facility is 82 feet from

   Plaintiffs’ property line.

           5.     The parties stipulate to the authenticity of all exhibits on the Joint Exhibit

   List.

                                              5.
                                       PENDING MOTIONS

            None.

                                                6.
                                            WITNESSES

    a.      List the nonexpert witnesses to be called by each party. List separately:

            (1)     witnesses who will be present at trial (see Fed. R. Civ. P. 26(a)(3)(A));

            Plaintiffs’ Witnesses—

            Phillis Windy Hope Reilly: Ms. Reilly is one of the Plaintiffs in this case. She will

   testify about the unpleasant odor emitted by Defendants’ marijuana cultivation facility,


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   the stigma created by the facility, and how the facility has harmed her use and

   enjoyment of her property.

           (2)     witnesses who may be present at trial if the need arises (see Fed. R.

           Civ. P. 26(a)(3)(A)); and

          Plaintiffs’ Witnesses—

          Michael P. Reilly: Mr. Reilly is one of the Plaintiffs in this case. If called, he will

   testify about the unpleasant odor emitted by Defendants’ marijuana cultivation facility,

   the stigma created by the facility, and how the facility has harmed her use and

   enjoyment of his property.

           Rodney K. Johnston: Mr. Johnston owns and lives on property near Defendants’

   marijuana cultivation facility. If called, he will testify about the unpleasant odor emitted

   by Defendants’ marijuana cultivation facility and the stigma created by the facility.

          Defendants’ Witnesses—

   Parker Walton

           (3)     witnesses where testimony is expected to be presented by means of a

           deposition and, if not taken steno graphically, a transcript of the pertinent

           portions of the deposition testimony. See Fed. R. Civ. P. 26(a)(3)(B).

           None.

    b.     List the expert witnesses to be called by each party. List separately:

           (1)     witnesses who will be present at trial (see Fed. R. Civ. P. 26(a)(3)(A));

           Plaintiffs’ Expert—



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           Stephen B. Billings: Plaintiffs will introduce Professor Billings’ testimony to

   assist the jury in quantifying damages by describing and applying to the facts of this

   case scholarly literature on how foul odors and other nuisances affect nearby

   property values.

            Defendants’ Experts—

   Melanie Bosarge – Defendants will call Melanie Bosarge. Ms. Bosarge will testify

   that there is no odor present at the property line between the Plaintiffs’ and

   Defendants’ property lines, and that any odor smelled is not originating from the

   Defendants’ marijuana facility.

            (2)    witnesses who may be present at trial (see Fed. R. Civ. P.

           26(a)(3)(A));

   Ivor Hill – Defendants may call Ivor Hill. If called Mr. Hill will testify that the highest

   and best use of land zoned A1, as the Plaintiff’s land is zoned, is marijuana

   cultivation. Mr Hill will also testify that the Plaintiff’s property was not lessened in

   value by the Defendant’s legal activities.

           (3)     witnesses where testimony is expected to be presented by means of a

           deposition and, if not taken steno graphically, a transcript of the pertinent

           portions of the deposition testimony. See Fed. R. Civ. P. 26(a)(3)(B).

           If Defendants do not call their expert, Ivor Hill, to testify live and if he is

   otherwise not present at trial, Plaintiffs may seek to introduce segments of Mr. Hill’s

   deposition testimony.



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                                                7.
                                             EXHIBITS

           Consistent with the Court’s Trial Preparation Order, the parties will submit one

    Joint Exhibit List at the outset of the Pretrial Conference. In collaborating on the Joint

    Exhibit List, the parties have exchanged exhibits. Any objections to exhibits must be

    served no later than 30 days prior to trial.


                                           8. DISCOVERY

          Discovery has been completed.

                                                 9.
                                           SPECIAL ISSUES

          None.

                                                10.
                                            SETTLEMENT

    a.     Counsel for the parties and any pro se party met by telephone on September

           24, 2018 to discuss in good faith the settlement of the case.

    b.     The participants in the settlement conference, included counsel,

           party representatives, and any pro se party.

    c.     The parties were promptly informed of all offers of settlement.

    d.     Counsel for the parties and any pro se party do not intend to hold future

           settlement conferences.

    e.     It appears from the discussion by all counsel and any pro se party that there is

           no possibility of settlement.

    f.     Counsel for the parties and any pro se party considered ADR in accordance with

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            D.C.COLO.LCivR.16.6.


                                              11.
                                      OFFER OF JUDGMENT

           Counsel and any pro se party acknowledge familiarity with the provision of Rule

   68 (Offer of Judgment) of the Federal Rules of Civil Procedure. Counsel have

   discussed it with the clients against whom claims are made in this case.


                                           12.
                             EFFECT OF FINAL PRETRIAL ORDER

            Hereafter, this Final Pretrial Order will control the subsequent course of this

    action and the trial, and may not be amended except by consent of the parties and

    approval by the court or by order of the court to prevent manifest injustice. The

    pleadings will be deemed merged herein. This Final Pretrial Order supersedes the

    Scheduling Order. In the event of ambiguity in any provision of this Final Pretrial

    Order, reference may be made to the record of the pretrial conference to the extent

    reported by stenographic notes and to the pleadings.


                                         13.
                       TRIAL AND ESTIMATED TRIAL TIME; FURTHER
                           TRIAL PREPARATION PROCEEDINGS

           1.     Trial in this case will be to a jury.

           2.     Although the Court previously scheduled five days for trial, in light of the

   Court’s summary judgment ruling counsel estimates that trial will be completed in three

   days.

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         3.    The trial will occur on the 10th Floor North of the Alfred A. Arraj, United

   States Courthouse Annex, 901 19th Street, Denver, Colorado 80294.

   Nunc Pro Tunc, October 4, 2018

                                                   BY THE COURT:




                                                   ______________________
                                                   Robert E. Blackburn
                                                   United States District Judge


   APPROVED:

    For Defendants:                             For Plaintiffs:

    s/ Matthew W. Buck                          s/ David H. Thompson
    Matthew W. Buck                             David H. Thompson
    RED LAW                                     Plaintiffs’ Counsel of Record
    445 Broadway Suite 126                      COOPER & KIRK, PLLC
    Denver, CO 80203                            1523 New Hampshire Avenue, N.W.
    720-771-4511                                Washington, D.C. 20036
    matt@red.law                                (202) 220-9600
                                                (202) 220-9601 (fax)
    Counsel for Defendants                      dthompson@cooperkirk.com

                                                Of Counsel:
                                                Charles J. Cooper
                                                Peter A. Patterson
                                                Brian W. Barnes
                                                COOPER & KIRK, PLLC
                                                1523 New Hampshire Avenue, N.W.
                                                Washington, D.C. 20036
                                                (202) 220-9600

                                                Counsel for Plaintiffs Phillis Windy Hope
                                                Reilly, and Michael P. Reilly



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                                 CERTIFICATE OF SERVICE

          I hereby certify that on September 27, 2018, I electronically filed the foregoing

    with the Clerk of Court using the CM/ECF system, which will send notification of such

    filing to all attorneys who have entered appearances in this case.


                                                    s/ David H. Thompson
                                                    David H. Thompson




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